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                       IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA


 CONRAD SMITH, et al.,

                       Plaintiffs,

                v.                                  Civil Action No. 1:21-cv-02265-APM

 DONALD J. TRUMP, et al.,

                       Defendants.


  PLAINTIFFS’ OPPOSITION TO DEFENDANT ALI ALEXANDER’S MOTION TO
  EXTEND TIME TO RESPOND TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR
 PRODUCTION AND DEFENDANT ROGER STONE’S MOTION FOR PROTECTIVE
                          ORDER AND STAY

       Defendant Ali Alexander moves to extend his time to respond to Plaintiffs’ First Set of

Requests for Production of Documents until the resolution of the motion for a protective order

brought by Defendants Donald J. Trump, Donald J. Trump for President, Inc. (“Trump for Presi-

dent”) and Make America Great Again PAC (“MAGA PAC”) (together, the “Trump Defendants”).

See ECF No. 170. Defendant Roger Stone moves for a protective order and stay of discovery

through the disposition of Defendants’ motions to dismiss. See ECF No. 174. Both motions—

which echo many of the same arguments Plaintiffs have already refuted in opposing the numerous

motions to stay filed by other Defendants—fail because neither moving Defendant can demon-

strate any particular hardship or inequity from discovery proceeding. Even if either movant demon-

strated marginal hardship—and they do not—such hardship does not outweigh the severe prejudice

Plaintiffs would suffer from a protracted delay of discovery.

       Plaintiffs were injured while defending U.S. Congresswomen and Congressmen during the

January 6 attack on the U.S. Capitol over two years ago. Plaintiffs promptly sought redress in

court, and despite their best efforts to proceed in good faith to preserve and obtain the discovery
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that they need to prove their claims, the Defendants have refused to engage without good reason.

Alexander and Stone, like several other Defendants, seek a blanket stay of the entire case for an

indefinite period. These motions minimize the grave damages that Plaintiffs have suffered in de-

fense of our democracy, and the relief sought completely disregards the fact that the significant

prejudice to Plaintiffs mounts with each additional day of delay.

I.      The Court Should Reject Defendant Alexander’s Motion for an Extension

        The Court should deny Defendant Alexander’s motion for an extension of time to respond

to Plaintiffs’ discovery requests pending resolution of the Trump Defendants’ motion to stay or

for a protective order. Although styled as a motion for an extension, Alexander’s motion seeks an

indefinite stay of discovery to which he is not entitled.

        Because Alexander does not identify any “clear case of hardship or inequity in being re-

quired to go forward with discovery,” he is not entitled to a stay of discovery. Dist. Title v. Warren,

14-cv-1808, 2015 WL 12964658, at *3 (D.D.C. June 15, 2015) (citation omitted). Construed gen-

erously, Alexander’s motion makes two attempts to demonstrate hardship. First, Alexander im-

properly claims the Trump Defendants’ purported hardship supports Alexander’s application for a

stay. ECF No. 171 at 1-2. Second, Alexander invokes the pendency of motions to dismiss as a

basis for a stay. Id. at 1. Both attempts are meritless.

        The purported hardships that the Trump Defendants assert in their motion do not apply to

Alexander. It is black-letter law that to prevail on a motion to stay, the movant bears the burden of

establishing that the movant faces a hardship or inequity meriting a stay. See United States v.

Honeywell Int’l, Inc., 20 F. Supp. 3d 129, 132 (D.D.C. 2013); Warren, 2015 WL 12964658, at *3.

Alexander’s motion, however, simply adopts the Trump Defendants’ motion without explaining

how it applies to him. See ECF No. 171 at 2. Harm to another party does not carry the movant’s

burden to justify a stay. See Honeywell, 20 F. Supp. at 132.


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       Even if defendants to a federal civil action share all the same purported discovery burdens,

as Alexander’s motion suggests, Plaintiffs have already explained that the Trump Defendants

failed to articulate any identifiable burden from proceeding with discovery. See ECF No. 173.

Alexander’s reliance on the Trump Defendants’ motion thus fails for the same reasons. At best,

the Trump Defendants’ motion could be construed to argue that they are automatically burdened

by proceeding with discovery because Defendant Trump asserted an immunity defense in this case.

Setting aside the fact that Trump for President’s and MAGA PAC’s purported burden related to

Defendant Trump’s failed immunity defense is non-existent, see ECF No. 173 at 11-12, Alexander

has not asserted any immunity defense in this case, nor could he. The Trump Defendants’ motion

simply does not apply to Alexander.

       Because Alexander fails to demonstrate any burden he would suffer absent a stay, he also

necessarily fails to demonstrate that any burden to him outweighs the substantial prejudice to

Plaintiffs from a stay. See Honeywell Int’l, Inc., 20 F. Supp. 3d at 132 (“The movant ‘must make

out a clear case of hardship or inequity in being required to go forward.’”). Plaintiffs have set forth

in detail the significant prejudice that they will suffer from any stay of discovery in response to

several motions to stay or for protective orders filed in this case. See ECF No. 159 at 14-17; ECF

No. 155 at 18-19; ECF No. 173 at 7-10. In particular, Plaintiffs have grave concerns about the

many accounts of—including criminal convictions for—evidence spoliation and utter disregard

for the legal or discovery process relating to the January 6 attack of many of the Defendants in this

case. As Plaintiffs contend in opposition to the Trump Defendants’ motion for a stay or protective

order, the surest way to minimize further risk of losing discoverable information and records that

Plaintiffs need to prove their case is for Plaintiffs to proceed with discovery. See ECF No. 173 at

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       Second, Alexander’s assertion that a pending motion to dismiss automatically merits a stay

is incorrect. ECF No. 171 at 1. As Plaintiffs have previously noted, and discussed below, see infra

at 4-5, courts in this district routinely hold that “a pending motion to dismiss is not a good reason

to stay discovery.” See, e.g., United States ex rel. Westrick v. Second Chance Body Armor, Inc.,

04-cv-280, 2007 WL 9706653, at *2 (D.D.C. Aug. 31, 2007) (emphasis added); see also ECF No.

159 at 8-10; ECF No. 155 at 9-10; ECF No. 173 at 3-5. Alexander cites no authority to the contrary.

       The Court should reject Alexander’s attempt to seek an indefinite stay of discovery. Cf.

Clinton v. Jones, 520 U.S. 681, 707-08 (1997) (holding that the court’s stay of civil trial through

the end of former President Clinton’s presidency, which the Court described as “a lengthy and

categorical stay,” abused its discretion).

II.    Defendant Stone’s Motion to Stay or for a Protective Order

       Defendant Stone’s motion to stay or for a protective order likewise fails.1

       First, Stone argues that discovery is inappropriate while a dispositive motion is pending;

ECF No. 174 at 1-2; that argument fails for the same reasons Alexander’s motion, and every other

Defendants’ motion to stay based on this argument, fails. See supra at 4; ECF No. 159 at 8-10;

ECF No. 155 at 9-10; ECF No. 173 at 3-5. Stone cites two other cases on which other Defendants

have previously relied in support of this argument. See, e.g., ECF No. 149 at 3-4 (citing Sai v.

Dep’t of Homeland Sec., 99 F. Supp. 3d 50, 58 (D.D.C. 2015) and Institut Pasteur v. Chiron Corp.,

315 F. Supp. 2d 33, 40 (D.D.C. 2004)); see also, e.g., ECF No. 154-1 at 3 (citing Institut Pasteur,

315 F. Supp. 2d at 40). As Plaintiffs have previously stated, these cases are inapplicable because

Institut Pasteur involved a motion to compel arbitration and Sai concerned discovery to support a




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 Stone’s attempt to adopt the Trump Defendants’ motion for a protective order or to stay discovery
cannot further his cause, because the burdens those Defendants assert do not apply to him.

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premature summary judgment motion filed by the Plaintiff. ECF No. 155 at 11. In so far as Stone

relies upon one case that no Defendant has yet cited, see ECF No. 174 at 2 (citing Small Bus. in

Transp. Coal. v. United States Dep’t of Transp., 20-cv-883, 2021 WL 7287302, at *1 (D.D.C. Mar.

21, 2021)), that case does not create the blanket rule he seeks. In Small Business in Transportation

Coalition, the court denied a motion to take depositions, where each defendant had filed motions

to dismiss, which, if granted, would have disposed of the entire case. 2021 WL 7287302, at *1.

The instant litigation, in contrast, is certain to proceed against at least six Defendants who have

filed answers. And, here, Stone is objecting to all discovery, not just a deposition.

       Unable to cite any compelling caselaw for the proposition that his motion to dismiss alone

warrants a discovery stay, Stone argues that he is entitled to a stay because he has a meritorious

First Amendment defense. ECF No. 174 at 2; ECF No. 76 at 22-26. As an initial matter, Stone

fails to identify any authority directing courts to scrutinize the merits of a pending dispositive

motion in deciding whether to stay discovery, nor could he. Plaintiffs explained in opposing De-

fendant Brandon Straka’s motion for a stay that Plaintiffs have searched for and are aware of no

such authority. See ECF No. 155 at 11-12, 14. Regardless, for the reasons Plaintiffs set forth in

their opposition to Stone’s motion to dismiss, Stone does not have a meritorious First Amendment

defense. See ECF No. 118 at 57-72.

       Second, Stone fails to demonstrate a particular burden from discovery that outweighs the

prejudice of a discovery delay to Plaintiffs (either through the form of a stay or a protective order).

See Honeywell Int’l, 20 F. Supp. 3d at 133 (the movant of a stay must demonstrate “that the benefits

of a discovery stay would outweigh the prejudice” to Plaintiffs); United States v. Kellogg Brown

& Root Servs., Inc., 285 F.R.D. 133, 135 (D.D.C. 2012) (the moving party bears the “heavy burden

of showing extraordinary circumstances based on specific facts that would justify an order”). As




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for his purported burden, Stone states only that “Plaintiffs have requested everything,” and, as a

result, that “[t]he response to the requests would be onerous.” ECF No. 174 at 2 (emphasis in

original). Stone does not explain what exactly is burdensome about Plaintiffs’ discovery requests

or why the fact that he apparently has a significant volume of responsive and relevant documents

insulates him from discovery. There is no bar against broad discovery under Federal Rule of Civil

Procedure 26, only overbroad discovery that is disproportionate to the needs of the case (and the

needs of this case are great). If Stone has good-faith objections to the purported breadth of partic-

ular requests, then he may make them in the normal course of discovery, through serving responses

and objections, meeting and conferring with Plaintiffs, and only then, if necessary, seeking relief

from the Court. It is not grounds for a stay.2

       As for the prejudice that Plaintiffs have explained they will suffer from postponing discov-

ery, Stone argues that “[t]here is no issue of spoliation as it relates to Roger Stone.” ECF No. 174

at 3. Certainly, there is no public indictment of Stone for destroying evidence in connection with

the January 6 attack—but this does not mean that Stone’s requested relief presents no risk of spo-

liation, evidence loss, or continued disregard for the legal or discovery process (or any other form

of prejudice, for that matter). Indeed, in 2019, a jury found Roger Stone guilty of “obstruction of

a congressional investigation, five counts of making false statements to Congress, and tampering

with a witness.” Press Release, U.S. Atty’s Office District of Columbia, Roger Stone Found Guilty

of   Obstruction,    False    Statements,        and       Witness   Tampering   (Nov.   15,   2019),



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  Stone also parrots the Trump Defendants’ position that, if discovery proceeds as to other
Defendants but not Stone, then such discovery would require Defendant Stone’s counsel to review
discovery responses and produced documents. ECF No. 174 at 3. As Plaintiffs explained in their
oppositions to the Trump Defendants’ two stay motions, if for some reason discovery were stayed
only against Stone, allowing other discovery to proceed would pose no particular burden to him
as his attorney may review produced discovery when they believe appropriate. See ECF No. 159
at 10-11, ECF No. 173 at 11-12.

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https://www.justice.gov/usao-dc/pr/roger-stone-found-guilty-obstruction-false-statements-and-

witness-tampering. While Defendant Trump pardoned Stone, that pardon does not make the risk

of Stone’s disregard for the legal process here any less severe. Moreover, Stone seeks a stay of all

discovery, leaving the door open to the many potential (and already realized) spoliation and evi-

dence loss issues described in prior submissions. See ECF No. 155 at 18-22 (explaining delay

could result in, inter alia, difficulty locating evidence, the destruction of evidence, and ability to

recover based on the fact that multiple Defendants have already been convicted of spoliation).

Stone’s preservation efforts (whatever they may be) are not indicative of any other Defendant’s

intent or conduct; indeed, Defendants Elmer Rhodes, Kelly Meggs, and Thomas Caldwell have

been convicted of destroying evidence relating to their involvement in January 6. See Verdict

Form, United States v. Rhodes, III et al., 22-cr-15 (D.D.C. Nov. 29, 2022), ECF No. 410 at 6-7.

       Stone also seems to suggest that Plaintiffs will not face significant prejudice from a stay

because the motions to dismiss have been pending in this case for “nearly a year” (implying that

they will be resolved soon), and because the Court of Appeals in a related action, Blassingame, et

al. v. Trump, No. 22-5069 (D.C. Cir. 2022), might rule soon on Trump’s immunity arguments. See

ECF No. 174 at 2-3. Putting aside Stone’s purported ability to predict when this Court or any other

court will rule on any motion or appeal,3 neither assertion demonstrates why Plaintiffs will not

continue to suffer prejudice in this case. See supra at 3, 6; ECF No. 159 at 14-17; ECF No. 155 at

18-19; ECF No. 173 at 7-10. To the contrary, the further passage of time (including a likely Su-

preme Court appeal in Blassingame) only compounds the prejudice of delay on Plaintiffs. Plaintiffs



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  Stone’s prediction is demonstrably inaccurate. The Blassingame panel just granted a motion to
extend the time for the United States Department of Justice to file its amicus curiae brief to
February 16, 2023, and set the deadline for responsive briefs by the parties to March 2, 2023.
Order, Blassingame, No 22-5069 (D.C. Cir. Jan 13, 2023), ECF No. 1981478 at 1. No opinion will
issue before then.

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suffered grave damages in the line of duty over two years ago. They filed this lawsuit nearly one-

and-a-half years ago; and continued delay only serves to benefit the Defendants at the expense of

Plaintiffs’ ability to preserve and obtain critical discovery so that their claims may be fairly heard

in court.

        Accordingly, the Court should refuse Stone’s request for stay or for a protective order.

                                          CONCLUSION

        The Court should deny Defendant Alexander’s and Defendant Stone’s motions for the fore-

going reasons. Plaintiffs do not believe that oral argument is necessary but request the opportunity

to present such argument if it would assist the Court.




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Dated:    New York, NY                 Respectfully submitted,
          January 18, 2023


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                                 CERTIFICATE OF SERVICE

       I certify that on January 18, 2023, I served a copy of the foregoing filing on all parties of

record by filing it with the Clerk of the Court through the CM/ECF system, which will provide

electronic notice to all attorneys of record. Plaintiffs are serving the remaining defendants via first

class mail or other permitted means.

 Dated: January 18, 2023



                                                                 Joshua S. Margolin




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